                                    Department of Justice
                                      U.S. Attorney’s Office
                                  Southern District of New York

FOR IMMEDIATE RELEASE
Friday, December 28, 2018
 Four Alleged Leaders And Members Of Lev Tahor Charged In White Plains Federal
                          Court With Kidnapping Children

Geoffrey S. Berman, the United States Attorney for the Southern District of New York, William F.
Sweeney Jr., Assistant Director-in-Charge of the New York Office of the Federal Bureau of
Investigation (“FBI”), and George P. Beach II, Superintendent of the New York State Police
(“NYSP”), announced today the arrests of NACHMAN HELBRANS, MAYER ROSNER, ARON
ROSNER, and JACOB ROSNER, all of whom were charged by complaint with kidnapping two
children in Woodridge, New York, and unlawfully transporting them to Mexico. With the help of
Mexican law enforcement partners, the children were recovered this morning in the town of
Tenango del Air in Mexico. Plans are underway to bring them back to the United States and
reunite them with their mother.

ARON ROSNER was arrested in New York City on December 23, 2018, and presented in White
Plains federal court before U.S. Magistrate Judge Lisa Margaret Smith the following day. On or
about December 27, 2018, NACHMAN HELBRANS, MAYER ROSNER, and JACOB ROSNER
were deported from Mexico by Mexican immigration authorities, and arrived in New York
City. They were arrested yesterday and presented today in White Plains federal court before U.S.
Magistrate Judge Paul E. Davison.

U.S. Attorney Geoffrey S. Berman said: “As alleged in the Complaint, the defendants engaged in a
terrifying kidnapping of two children in the middle of the night, taking the children across the
border to Mexico. Thankfully, the kidnappers were no match for the perseverance of the FBI, the
New York State Police, and Mexican authorities, and the children were recovered this morning
after a nearly three-week search. These charges and arrests send a clear message that if you are
involved in child abduction we will find you and bring you to justice.”

Assistant Director-in-Charge Sweeney said: “As alleged, the defendants are leaders and members
of Lev Tahor who kidnapped two innocent children to continue their lives with the group in
violation of a legitimate, court-ordered child custody arrangement. This case demonstrates the
FBI will never cease our efforts to bring justice to those who would victimize our nation’s most
vulnerable citizens in blatant disregard for our laws. I would like to thank the multitude of
domestic and international partners who worked tirelessly, shoulder-to-shoulder with us to bring
this case to a successful conclusion.”

State Police Superintendent George P. Beach II said: “Through great police work, two children
are being returned home safely to their mother. I applaud the teamwork and interagency
coordination that lead to getting these suspects into police custody, and these children to
safety. We will continue to work with our partners to seek justice on behalf of those who have
been victimized and to protect the members of our communities.”

According to the allegations in the Complaints unsealed in White Plains federal court:[1]

On or about December 8, 2018, two children (the “Victims”), ages 12 and 14, were kidnapped
from a residence in the Village of Woodridge, Sullivan County, New York (the “Residence”), where
they were staying with their mother (the “Mother”). Approximately six weeks earlier, the Mother
had fled from an organization in Guatemala called Lev Tahor.

Lev Tahor is an extremist Jewish sect based in Guatemala. Public news reports indicate that
children in Lev Tahor are often subject to physical, sexual, and emotional abuse. The Mother was
previously a voluntary member of Lev Tahor and her father was its founder and former leader,
Rabbi Shlomo Helbrans. According to the Mother, the new leader of Lev Tahor, her brother
NACHMAN HELBRANS, is more extreme than her father had been, and, as a result, she fled from
the group. Prior to her escape, the Mother spoke out against the growing extremism within Lev
Tahor. The Mother indicated that it was not safe to keep her children there. Upon entering the
United States, the mother was granted temporary sole custody of the Victims, along with her four
other children, in Kings County Family Court and an Order of Protection was issued against the
Victims’ biological father on behalf of all six children.

As part of their investigation, law enforcement agents interviewed a participant in the kidnapping
who was a member of Lev Tahor for over 19 years before leaving the organization approximately
three months ago (“CC-1”). CC-1 stated that the current leaders of Lev Tahor include MAYER
ROSNER and NACHMAN HELBRANS. CC-1 also stated that NACHMAN HELBRANS is
considered the Rabbi and leader of Lev Tahor, that ARON ROSNER is the brother of MAYER
ROSNER, and that JACOB ROSNER a/k/a “Chaim Rosner,” is the son of MAYER ROSNER.

NACHMAN HELBRANS, MAYER ROSNER, JACOB ROSNER, and ARON ROSNER participated
in the scheme to kidnap the Victims. HELBRANS was captured in surveillance footage with the
Victims at an airport outside Scranton, Pennsylvania, on the day of the kidnapping. In the
footage, HELBRANS and the Victims are wearing modern clothing inconsistent with the clothing
typically worn by members of Lev Tahor. MAYER ROSNER participated in the planning
conversations for the kidnapping and attempted to persuade CC-1 to leave the country once the
Victims had been transported to Mexico. JACOB ROSNER, who is considered within Lev Tahor
to be the husband of the 14-year old Victim, also participated in the planning conversations for
the kidnapping and purchased the clothing worn by HELBRANS and the Victims during the
kidnapping. ARON ROSNER helped fund the kidnapping and organized conference calls with
several co-conspirators over the course of the kidnapping during which co-conspirators discussed
hotels in Mexico as well as purchases of flights, bus tickets, credit cards, and food for the Victims.

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      ARON ROSNER, 45, of Brooklyn, New York, MAYER ROSNER, 42, of Guatemala, JACOB
ROSNER, 20, of Guatemala, and NACHMAN HELBRANS, 36, of Guatemala, are each charged
with one count of kidnapping, which carries a maximum sentence of life in prison. The maximum
potential sentences in this case are prescribed by Congress and are provided here for
informational purposes only, as any sentencing of the defendants will be determined by the judge.

Mr. Berman praised the outstanding work of the FBI and members of the FBI Hudson Valley Safe
Streets Task Force, the New York State Police and the members of Troops F and NYC, United
States Customs and Border Protection, the Sullivan County District Attorney’s Office, the
Rockland County District Attorney’s Office, the Rockland County Sheriff’s Department, the Spring
Valley Police Department, the Village of Woodridge Police Department, and our law enforcement
partners in Mexico. Mr. Berman also thanked the Department of Justice’s Office of International
Affairs for its assistance.

This case is being handled by the Office’s White Plains Division. Assistant United States
Attorneys Sam Adelsberg and Jamie Bagliebter in charge of the prosecution.

The charges contained in the Complaints are merely accusations, and the defendants are
presumed innocent unless and until proven guilty.



[1] As the introductory phrase signifies, the entirety of the texts of the Complaints and the
descriptions of the Complaints set forth herein constitute only allegations, and every fact
described should be treated as an allegation.
Attachment(s):
Download Aron Rosner complaint
Download Mayer Rosner, Jacob Rosner, Nachman Helbrans complaint
Topic(s):
Project Safe Childhood
Component(s):
USAO - New York, Southern
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